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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC            §
                                      §
        Plaintiff,                    §              Case No: 2:15-cv-01169-RWS-RSP
                                      §
  vs.                                 §              LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
        Defendant.                    §
  ___________________________________ §
  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §              Case No: 2:15-cv-01873-JRG-RSP
                                      §
  vs.                                 §              LEAD CASE
.                                     §
  JAGUAR LAND ROVER NORTH             §
  AMERICA, LLC                        §
                                      §
        Defendant.                    §
  ____________________________________§

                                             ORDER

       On this day the Court considered the Unopposed Motion to Dismiss Defendant Jaguar
Land Rover North America, LLC.
       It is therefore ORDERED that all claims by and between Symbology Innovations, LLC
and Jaguar Land Rover North America, LLC are hereby DISMISSED WITH PREJUDICE, with
       SIGNED
each party to bearthis  3rd costs,
                   its own  day ofexpenses
                                   January,and
                                            2012.
                                               attorneys’ fees.
       SIGNED this 16th day of March, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
